         Case 4:24-cv-01812 Document 9 Filed on 07/03/24 in TXSD Page 1 of 3




                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

MATTHEW THOMAS DEARMOND III       §
                                  §
                                  §
VS.                               §                              C.A. NO. 4:24-cv-1812
                                  §
SELECT PORTFOLIO SERVICING, INC., §
ANGEL OAK MORTGAGE SOLUTIONS,     §
LLC AND WILMINGTON SAVINGS FUND §
SOCIETY (FSB)                     §

            AMENDED STATEMENT OF INFORMATION IN A REMOVED ACTION

1.    State the date(s) on which defendant(s) or their representative(s) first received a copy of the
      summons and complaint in the removed state court action. If different, the date on which each
      defendant was served with a copy of the summons and complaint.

      Defendant received or became aware of the Complaint on or about May 13, 2024 and the
      Complaint was filed on May 6, 2024. The case was removed within 30 days of when the
      Complaint was filed, therefore removal was timely regardless of any service date.

2.    In actions removed based on diversity jurisdiction, list the citizenship of all parties, including
      the citizenship of each member of a partnership or other type of business association such as
      LLCs and LLPs. Specifically identify whether any defendants who have been served are
      citizens of Texas.

      Plaintiff is a citizen of Texas for Diversity purposes and he resides in and is domiciled in
      Texas.

      Defendant Select Portfolio Servicing, Inc. is a Utah Corporation for Diversity purposes as set
      forth in Defendant’s Notice of Removal. Defendant is not a citizen of Texas.

      Defendant Wilmington Savings Fund Society, FSB, is the trustee of a trust. When
      determining citizenship of a trust for purposes of diversity jurisdiction, it is the citizenship of
      the trustee which controls, not the citizenship of the beneficiaries of the trust. Wilmington
      Savings Fund Society, FSB, is a federal savings bank chartered under the laws of the United
      States. Wilmington’s home office is located in Delaware, and therefore it is a citizen of
      Delaware for diversity purposes.

      Defendant Angel Oak is not alleged to have any current role in the subject mortgage, has not
      and is not attempting to foreclose, and has been improperly joined. Although it has been
      improperly joined as no legally viable claim has been alleged against it, Angel Oak is a
      Delaware limited liability company and is not a citizen of Texas for diversity purposes. For


                                                        1
20060161.20240316/5396148.1
         Case 4:24-cv-01812 Document 9 Filed on 07/03/24 in TXSD Page 2 of 3




      diversity purposes, the citizenship of a limited liability company is determined by the
      citizenship of its members. Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir.
      2008). No members of Defendant are citizens of Texas for Diversity purposes as none of
      them are or were domiciled in Texas at any time relevant to removal. Upon information and
      belief, Angel Oaks’s members are Angel Oak Lending LLC and Parker Ellis, LLC, both
      Georgia limited liability companies. Parker Ellis, LLC’s sole member is Steven Schwalb, a
      resident of the state of Georgia. Angel Oak Lending, LLC’s sole member is Angel Oak
      Companies, LP, a Georgia Limited Partnership. The Partners of Angel Oak Companies, LP,
      are Angel Oak Managing Partners, Inc., a Delaware Corporation with its principal place of
      business in Delaware, Mike Fierman, a resident of the State of Georgia, Sreeniwas Prabhu, a
      resident of the state of Georgia, and SevenSigma Investments, LLC, a Georgia limited liability
      company whose sole member is Brad Friedlander, a resident of the State of Georgia.
      Accordingly, Angel Oak is diverse in citizenship from Plaintiff for Diversity purposes.


3.    In actions removed based on diversity jurisdiction, state the amount alleged in controversy
      and the basis for this amount.

      No less than $1,010,592.00 which is the value of the collateral in question that forms the basis
      of Plaintiff’s claim for injunctive relief precluding foreclosure.

4.    In actions removed based on diversity jurisdiction pending more than one year in state court,
      specify why the case should not be summarily remanded.

      Not applicable.

5.    Identify any defendant that did not join in the notice of removal and explain why.

      Not applicable.

                                               Respectfully submitted,
                                               By: /s/ Michael F. Hord Jr.
                                                  Michael F. Hord Jr.
                                                  State Bar No. 00784294
                                                  Federal I.D. No. 16035
                                                  Eric C. Mettenbrink
                                                  State Bar No. 24043819
                                                  Federal I.D. No. 569887
                                                  HIRSCH & WESTHEIMER, P.C.
                                                  1415 Louisiana, 36th Floor
                                                  Houston, Texas 77002-2772
                                                  (713) 220-9182 Telephone
                                                  (713) 223-9319 Facsimile
                                                  Email: mhord@hirschwest.com
                                                  Email: emettenbrink@hirschwest.com
                                               ATTORNEYS FOR DEFENDANTS

                                                      2
20060161.20240316/5396148.1
         Case 4:24-cv-01812 Document 9 Filed on 07/03/24 in TXSD Page 3 of 3




                                    CERTIFICATE OF SERVICE

      On this July 3, 2024, I hereby certify that a true and correct copy of the foregoing
Statement of Information in Removed Action was served as follows:

                              Matthew Thomas Dearmond, III Pro Se
                                    3519 Lakes of Katy Lane
                                       Katy, Texas 77493
                                   Via ECF and Regular Mail


                                             /s/ Michael F. Hord Jr.
                                             Michael F. Hord Jr.




                                                    3
20060161.20240316/5396148.1
